                    UNITED STATES BANKRUPTCY COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Scottie Calvin Cuff
                                                            Case No.:1-19-01678HWV

                                                            Chapter 13
                      Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
cure the pre-petition and post-petition default in the claim below has been paid in full and the
debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Nationstar
 Court Claim Number:             08
 Last Four of Loan Number:       2948
 Property Address if applicable: 1532 Ridgeview Ln

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                     $959.04
 b.      Prepetition arrearages paid by the trustee:                         $959.04
 c.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and paid
         by the trustee:
 e.       Allowed postpetition arrearage:                                    $0.00
 f.       Postpetition arrearage paid by the trustee:                        $0.00
 g.       Total b, d, and f:                                                 $959.04

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
counsel, and the trustee, within 21 days after service of this notice, a statement indicating
whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
current on all postpetition payments as of the date of the response. Failure to file and serve the
statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to copies
of this notice sent to the debtor(s) and the creditor.


Dated: January 23, 2024
                                                       Respectfully submitted,


                                                       /s/ Jack N. Zaharopoulos
                                                       Standing Chapter 13 Trustee
                                                       Suite A, 8125 Adams Drive
                                                       Hummelstown, PA 17036
                                                       Phone: (717) 566-6097
                                                       Fax: (717) 566-8313
                                                       email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Scottie Calvin Cuff
                                                            Case No.:1-19-01678HWV

                                                            Chapter 13
                     Debtor(s)

                                 CERTIFICATE OF SERVICE


I certify that I am more than 18 years of age and that on January 23, 2024, I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown, PA,
unless served electronically.

  Served Electronically
  Kara K. Gendron, Esquire
  Mott & Gendron Law
  125 State St
  Harrisburg PA 17101


  Served by First Class Mail
  Nationstar Mtg, LLC
  PO Box 619096
  Dallas TX 75261-9741

  Scottie Calvin Cuff
  1532 Ridgeview Ln
  Harrisburg PA 17110

  I certify under penalty of perjury that the foregoing is true and correct.


  Date: January 23, 2024                                /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                              Disbursements for Claim
Case: 19-01678          SCOTTIE CALVIN CUFF
         NATIONSTAR MORTGAGE
                                                                                    Sequence: 13
         PO BOX 619094
                                                                                       Modify:
                                                                                   Filed Date: 6/27/2019 12:00:00AM
         DALLAS, TX 75261-9741
                                                                                   Hold Code:
 Acct No: 2948/PRE ARREARS/1532 RIDGEVIEW LANE



                                                Debt:             $959.04       Interest Paid:              $0.00
        Amt Sched:              $119,068.00                                       Accrued Int:               $0.00
         Amt Due:       $0.00                    Paid:            $959.04        Balance Due:                $0.00

Claim name                             Type      Date           Check #      Principal    Interest       Total Reconciled
                                                                                               DisbDescrp
 5200        NATIONSTAR MORTGAGE
520-0 NATIONSTAR MORTGAGE                      09/19/2023       2028899       $118.68       $0.00     $118.68 09/29/2023


520-0 NATIONSTAR MORTGAGE                      08/09/2023       2027878        $96.80       $0.00      $96.80 08/17/2023


520-0 NATIONSTAR MORTGAGE                      07/11/2023       2026900        $96.80       $0.00      $96.80 07/20/2023


520-0 NATIONSTAR MORTGAGE                      06/13/2023       2025983        $93.00       $0.00      $93.00 06/23/2023


520-0 NATIONSTAR MORTGAGE                      05/16/2023       2025039        $93.00       $0.00      $93.00 05/26/2023


520-0 NATIONSTAR MORTGAGE                      04/18/2023       2024022        $93.00       $0.00      $93.00 04/28/2023


520-0 NATIONSTAR MORTGAGE                      02/15/2023       2021989        $93.00       $0.00      $93.00 02/24/2023


520-0 NATIONSTAR MORTGAGE                      01/18/2023       2020989        $93.00       $0.00      $93.00 01/26/2023


520-0 NATIONSTAR MORTGAGE                      12/13/2022       2019989        $93.00       $0.00      $93.00 12/22/2022


520-0 NATIONSTAR MORTGAGE                      11/16/2022       2019038        $88.76       $0.00      $88.76 12/14/2022


                                                             Sub-totals:     $959.04        $0.00    $959.04

                                                            Grand Total:     $959.04        $0.00




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